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                       UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,                             )
                                                       )
                        Plaintiff,                     )
                                                       )
 v.                                                    )       Case No. 19-CR-0076-CVE-30
                                                       )
 ERNESTO BARRIENTOS,                                   )
                                                       )
                        Defendant.                     )


                                     OPINION AND ORDER

        Now before the Court is defendant’s motion to reject second revised presentence report, Dkt.

 # 960. On June 17, 2020, defendant entered a guilty plea, pursuant to a written plea agreement (Dkt.

 # 736), to a single-count information charging interstate travel in aid of racketeering (Dkt. # 669).

 The Court directed the United States Probation Office to complete a presentence investigation and

 report (PSR). Sentencing was set for September 29, 2020.

        The initial PSR was disclosed on August 27, 2020, in which defendant was held accountable

 for 60 grams of heroin (based on $6,000 cash received by defendant), resulting in a base offense

 level of 20. On September 9, 2020, defendant’s counsel notified the probation officer and plaintiff

 of objections to the PSR, including to the quantity of heroin for which defendant was held

 responsible, and requested a lower base offense level. On September 25, 2020, on the unopposed

 motion of plaintiff (Dkt. # 935), the sentencing hearing was continued to October 20, 2020, due to

 inaccessibility of plaintiff’s witness for sentencing due to COVID-19 protocols.

        On October 14, 2020, the probation officer disclosed a revised PSR with the same guideline

 calculation as the initial PSR, to include minor changes requested by defendant that did not impact

 the guideline calculation. On October 15, 2020, plaintiff emailed the assigned probation officer to
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 notify her of its intent to present evidence and testimony inconsistent with the drug quantity in the

 PSR. Later that same day, plaintiff filed sealed “government’s offer of proof in response to

 defendant’s objection to PSR” (Dkt. # 952), following an interview with the cooperating witness

 in which plaintiff received information that the quantity of heroin provided by defendant to the

 cooperating witness was 850 grams, not the 60 grams based on the $6,000 cash received by

 defendant. On October 16, 2020, at the request of the probation office and based on the new

 information contained in plaintiff’s new filing (Dkt. # 952), the Court continued the sentencing

 hearing to November 9, 2020 (Dkt # 953). Plaintiff never filed or submitted objections to the

 original PSR within 14 days of initial disclosure, and never requested from the Court an extension

 of the deadline for good cause.

         On October 23, 2020, based on plaintiff’s filing of new information (Dkt. # 952), the

 probation office disclosed a second revised PSR, in which defendant was held accountable for 850

 grams of heroin based on the new evidence provided by plaintiff, which results in a base offense

 level of 28. Thereafter, defendant filed a motion to reject second revised PSR (Dkt. # 960),

 requesting that the Court reject the second revised PSR, because government’s “offer of proof” (Dkt.

 # 952), was filed 35 days beyond the 14-day deadline to file objections to the PSR. Defendant argues

 that plaintiff’s response to his objections and sentencing memorandum was vindictive and

 inappropriately punitive. Further, he suggests there was no corroboration of this new drug amount

 apart from the cooperating witness, who is also one of the highest members of the drug trafficking

 organization. Based on the failure of plaintiff to request any extension of time, defendant requests

 that the second revised PSR be stricken from the record (which the Court understood to mean “be

 rejected” because it is not filed of record).


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        In plaintiff’s response in opposition to defendant’s motion to reject second revised

 presentence report (Dkt. # 967), plaintiff argues that it filed a timely objection to the revised PSR,

 which was disclosed on October 14, 2020. Alternatively, if the Court finds the plaintiff’s objections

 were submitted untimely, it argues that there was good cause for the delay.

        In support of its arguments that there was good cause for the delay, plaintiff cites United

 States v. Remaley, 646 F. App’x 719 (11th Cir. 2016), wherein the Eleventh Circuit affirmed the

 district court’s decision to consider an objection raised by plaintiff at the sentencing hearing, well

 outside the confines of the fourteen day deadline. In Remaley, plaintiff objected to the PSR for

 failure to include the enhancement for obstruction of justice based upon evidence plaintiff discovered

 shortly before sentencing. Specifically, in recorded jail calls, defendant directed someone to wipe

 data from his cell phone. Though plaintiff was aware of the call, it did not have access to the

 contents of the cell phone to determine if the wipe would have actually resulted in obstructive

 conduct. It was not until shortly before the sentencing that plaintiff was able to gain access to the

 contents of the cell phone in a readable format. The district court determined that “[i]t was

 reasonable for the government to withhold its objection until it had established that it had grounds

 for the U.S.S.G. § 3B1.1 enhancement.” Id. at 721.

        Under Fed. R. Crim. P. 32(f)(1), a party must make any objection to the PSR within 14 days

 after it has been disclosed to the parties, and the probation officer must investigate any objections

 and revise the PSR, if appropriate. Rule 32(g) provides that “[a]t least 7 days before sentencing, the

 probation officer must submit to the court and to the parties the PSR and an addendum containing

 any unresolved objections . . . .” Fed. R. Crim. P. 32(g). Rule 32(g) does not authorize the parties

 file new objections after disclosure of the revised PSR and addendum. Plaintiff had an opportunity


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 to object to the amount of drugs attributable to defendant in the initial PSR, but failed to do so.

 While plaintiff argues that it objected within 14 days of the revised PSR disclosure, no changes were

 made in the revised PSR that affected the drug quantity or guideline calculation. Further, during the

 change of plea hearing on June 17, 2020, in response to the Court’s question regarding drug quantity

 for purposes of calculation of the offense level, counsel for plaintiff stated “. . . based on the

 government’s evidence, we are making our best determination as to the amount based on the amount

 of money.” Such a statement implies that plaintiff was unaware of a specific amount of drugs

 attributable to defendant. In such case, plaintiff’s counsel had an obligation to make that

 determination within 14 days of initial disclosure if it wished to object.

        Rule 32 specifically contemplates that parties may make untimely objections to the PSR, and

 the Court may consider an untimely objection if the objecting party can show “good cause.” Fed.

 R. Crim. P. 32(i)(D). Plaintiff’s “offer of proof” was untimely if it is construed as an objection, and

 the Court finds that it can consider the objection only if plaintiff can establish good cause for

 asserting an untimely objection to the PSR.

        Plaintiff argues that good cause exists for hearing its untimely objection to the PSR because

 the objection is based on new evidence to which the plaintiff did not previously have access. The

 Tenth Circuit has not adopted a standard for “good cause” under Rule 32(i). Courts that have

 examined the good cause standard have agreed that the district court has the discretion to hear an

 untimely objection. United States v. Chung, 261 F.3d 536, 539-40 (5th Cir. 2001); United States

 v. Jones, 70 F.3d 1009 (8th Cir. 1995). At least one court has found that a district court should

 consider not only the defaulting party’s explanation for failing to make a timely objection, but also

 a good cause inquiry should take into account the “adverse effects-direct or systemic-on opposing


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 parties or the judiciary.” United States v. McCoy, 313 F.3d 561, 565 (D.C. Cir. 2002). Good cause

 may also exist when it appears that defendant would receive a sentence that is “simply wrong, with

 no basis in fact.” United States v. Hne, 103 F. Supp. 2d 483, 485 (D.R.I. 2000); see also United

 States v. Albright, 115 F. Supp. 2d 1271 (D. Kan. 2000) (“the court believes that good cause . . .

 requires either showing a diligent party has a good faith reason for the delay that constitutes more

 than a simple mistake or neglect or showing the untimely objection raises substantial factual or legal

 issues going to the basic fairness or validity of the PSR’s sentencing findings and determinations.”).

        Pursuant to Rule 32(i)(D), the Court finds that plaintiff has not shown good cause for its

 untimely objection to the PSR beyond the parameters set forth in Rule 32(f)(1). Plaintiff has not

 offered any reason why it could not have made its objection in a timely fashion. Plaintiff states that

 it did not have access to this evidence until after defendant objected to the original PSR. However,

 this is not quite accurate. Plaintiff had access to the witness on whose testimony it relies long before

 the disclosure of the original PSR. Plaintiff had an opportunity to review its files, discovery, and

 drug amounts, and interview the witness before or during the fourteen-day period following the

 disclosure of the original PSR on August 27, 2020. This case differs from Remaley in that nothing

 prevented plaintiff from gaining access to the “new evidence” in a timely manner. Further,

 considering plaintiff’s late collection of the new evidence, allowance of its introduction to increase

 the offense level based on a new drug quantity and not based on “the amount of money,” would call

 into question the fairness and integrity of the proceedings and would ultimately affect the substantial

 rights of defendant.




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        IT IS THEREFORE ORDERED that defendant’s motion to reject second revised PSR

 (Dkt. # 960) is granted. Plaintiff’s new evidence contained in its “offer of proof” will be considered

 only as a response to defendant’s objection and as argument against a downward variance or low-end

 guideline sentence. It will not be considered insofar as it would increase the advisory guideline

 range contained in the initial PSR.

        DATED this 6th day of November, 2020.




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